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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

  ERIC & CO TRADING GROUP LLC,                                  CASE NO.: 23-CV-20045-RKA

         Judgment Creditor,

  v.

  FLOYD MAYWEATHER, JR.,

         Judgment Debtor.

  and

  JP MORGAN CHASE BANK, N.A. and
  ENHANCE HEALTH LLC,

        Garnishees.
  ___________________________________/

                    EX-PARTE MOTION FOR WRIT OF GARNISHMENT
                                  (After Judgment)

         Judgment Creditor, ERIC & CO TRADING GROUP LLC (“Judgment Creditor” or “Eric

  & Co.”), moves for the issuance of a Writ of Garnishment pursuant to Fed. R. Civ. P. 64 and

  Section 77.03, Florida Statutes, against Garnishees, JP MORGAN CHASE BANK, N.A. (“Chase

  Bank”) and ENHANCE HEALTH LLC (“Enhance Health”), on an ex parte basis, stating in

  support thereof as follows:

         1.      On June 3, 2023, this Court entered a Final Judgment (the “Judgment”) in favor of

  Eric & Co. and against FLOYD MAYWEATH, JR. (“Judgment Debtor” or “Mayweather”), in

  the sum of $1,168,650, plus prejudgment interest of $111,551.32, with interest at the current post-

  judgment statutory rate as designated in the State of Florida at the time of the filing of this Motion

  of 7.69%.

         2.      The Judgment was electronically filed by the Court Deputy on June 5, 2023, and a

  copy of the Judgment was certified by the Clerk on August 1, 2023.
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         3.       The Judgment was recorded on August 15, 2023, under Instrument #119041719 of

  the Official Public Records of Broward County, Florida. A true and correct copy of the Broward

  County recorded Judgment is attached hereto as Exhibit A and incorporated by reference herein.

         4.       The Judgment was also recorded on August 22, 2023, under CFN: 20230584720,

  Book 33846, Page 1498 of the Official Public Records of Miami-Dade County, Florida. A true

  and correct copy of the Miami-Dade County recorded Judgment is attached hereto as Exhibit B

  and incorporated by reference herein.

         5.       The sum of $1,168,650, plus prejudgment interest of $111,551.32, and post-

  judgment interest, attorneys’ fees and costs in the amount of $8,576 remains due and unpaid on

  the Judgment.

         6.       ERIC & CO. has reason to believe that Garnishees are in possession of money or

  other property of MAYWEATHER that could be used to pay a portion of the Judgment.

         7.       Accordingly, ERIC & CO. moves for the issuance of a Writ of Garnishment against

  Garnishees.

         WHEREFORE, ERIC & CO. respectfully requests that the Clerk of the Court issue Writs

  of Garnishment against Garnishees, JP MORGAN CHASE BANK, N.A. and ENHANCE

  HEALTH LLC to capture any money or other property of Judgment Debtor FLOYD

  MAYWEATHER, JR. that could be used to pay the Judgment.

         DATED this 22nd day of August, 2023.
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                                              Respectfully submitted,

                                              MILLENNIAL LAW
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via email

  on this 22nd day of August, 2023, as follows:

   Floyd Mayweather, Jr.
   288 South Coconut Lane
   Miami Beach, Florida 33139
   Judgment Debtor
